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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

                                         )
CATHERINE GOULD individually, and on )
behalf of all others similarly situated, )
                                         )
                Plaintiff,               )
                                         )           Case No. 4:14-cv-01093
v.                                       )
                                         )           Removed from the Circuit Court of St.
LTF CLUB OPERATIONS COMPANY, )                       Louis County, Missouri, Case No. 14SL-
INC. d/b/a LIFE TIME FITNESS,            )           CC01257
                                         )
                Defendant.               )

                                  NOTICE OF REMOVAL

TO:    The Honorable Judges of the United States District Court for the Eastern District of
       Missouri

       and

       David T. Butsch
       Christopher E. Roberts
       BUTSCH ROBERTS & ASSOCIATES LLC
       231 South Bemiston Ave., Suite 260
       Clayton, MO 63105
       Attorneys for Plaintiff

       PLEASE TAKE NOTICE that Defendant LTF Club Operations Company, Inc. d/b/a Life

Time Fitness (“Life Time”) hereby removes the above captioned case, pursuant to 28 U.S.C.

§ 1331. In support of this Notice of Removal, Life Time states as follows:

       1.      On April 17, 2014, Plaintiff Catherine Gould filed the above-captioned action in

the St. Louis County Circuit Court, Case No. 14SL-CC01257. Life Time was served with a copy

of the Summons and Class Action Petition on May 15, 2014. Pursuant to 28 U.S.C. § 1446(a), a

copy of all process and pleadings served upon Life Time are attached hereto as Exhibit 1.
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        2.     As set forth below, Defendant has satisfied all procedural requirements for

removal, and this Court has federal question jurisdiction over this action, pursuant to 28 U.S.C.

§ 1331. Accordingly the Class Action Petition is properly removed to this Court.

I.      LIFE TIME HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
        REMOVAL.

        3.     Life Time’s removal is timely filed under 28 U.S.C. § 1446(b) because it has been

filed “within 30 days after the receipt by the defendant, through service or otherwise, of a copy

of the initial pleading setting forth the claim for relief upon which such action or proceeding is

based.” Id. A defendant’s time to remove an action “is triggered by simultaneous service of the

summons and complaint, or receipt of the complaint, ‘through service or otherwise,’ after and

apart from service of the summons, but not by mere receipt of the complaint unattended by any

formal service.” Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344, 347–48 (1999). Life

Time was served with the Summons and Petition on May 15, 2014, and files this Notice of

Removal within 30 days.

        4.     The United States District Court for the Eastern District of Missouri, Eastern

Division is the District Court for the district embracing the Circuit Court of St. Louis County,

Missouri, where the action is currently pending. See 28 U.S.C. § 105(a)(1). Venue is therefore

proper in this district under 28 U.S.C. § 1441(a).

        5.     Pursuant to 28 U.S.C. § 1446(a), Life Time is filing with this Notice a copy of all

process, pleadings, and orders filed in the state court action. (See Exhibit 1.)

        6.     A copy of this Notice of Removal is being served upon Plaintiff through her

attorneys of record, and notice of this Removal is being filed with the Clerk of the Circuit Court

of St. Louis County, Missouri, as required by 28 U.S.C. § 1446(d).
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II.      THIS COURT HAS SUBJECT MATTER JURISDICTION OVER THIS ACTION.

         7.     A defendant may remove to federal court “any civil action of which the district

courts have original jurisdiction founded on a claim or right arising under the Constitution,

treaties, or laws of the United States.” 28 U.S.C. §1441(b). Federal district courts have “original

jurisdiction of all civil actions arising under the Constitution, laws or treaties of the United

States.” 28 U.S.C. §1331.

         8.     The above-captioned case is a civil action over which this Court has jurisdiction

pursuant to 28 U.S.C. § 1331 because Plaintiff alleges that Life Time has violated federal law,

specifically the Telephone Consumer Protection Act, 47 U.S.C. § 227. See Petition, ¶¶ 13–26;

see also Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

III.     CONCLUSION

         Because the Court has original federal question jurisdiction over this matter pursuant to

28 U.S.C. § 1331, it is properly removed to this Court pursuant to 28 U.S.C. § 1441(a).

Accordingly, Life Time removes this case to the United States District Court for the Eastern

District of Missouri. Life Time expressly reserves its right to raise all defenses and objections to

Plaintiff’s claims after the action is removed to the above Court.
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Dated: June 13, 2014                       ARMSTRONG TEASDALE LLP


                                           /s/ Darryl M. Chatman
                                           Darryl M. Chatman, #60987MO
                                           7700 Forsyth Blvd., Suite 1800
                                           St. Louis, MO 63105
                                           Tel: (314) 621-5070
                                           Fax: (314) 613-8512
                                           dchatman@armstrongteasdale.com

                                           and

                                           FAEGRE BAKER DANIELS LLP

                                           Aaron D. Van Oort* MN #315539
                                           Erin L. Hoffman*     MN #0387835
                                           2200 Wells Fargo Center
                                           90 South Seventh Street
                                           Minneapolis, MN 55402-3901
                                           Tel: (612) 766-7000
                                           Fax: (612) 766-1600
                                           aaron.vanoort@FaegreBD.com
                                           erin.hoffman@FaegreBD.com

                                           *Petitions for Admission
                                           Pro Hac Vice forthcoming

                                           Attorneys for Defendant
                                           LTF Club Operations Company, Inc.
                                           d/b/a Life Time Fitness
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2014, a copy of the foregoing was served by electronic
mail and U.S. Mail, postage prepaid, on the following attorneys of record:

       David T. Butsch
       Christopher E. Roberts
       BUTSCH ROBERTS & ASSOCIATES LLC
       231 South Bemiston Ave., Suite 260
       Clayton, MO 63105
       butsch@butschroberts.com
       roberts@butschroberts.com

       Attorneys for Plaintiff

                                                   /s/ Darryl M. Chatman
